Case: 6:22-cv-00095-REW-EBA Doc #: 23 Filed: 07/05/22 Page: 1 of 1 - Page ID#: 200




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                    SOUTHERN DIVISION
                                          LONDON

 CIVIL ACTION NO. 6:22-CV-00095-REW-EBA

 PHI HEALTH, LLC, et al.,                                                            PLAINTIFF,


 V.                                          ORDER


 U.S. DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,                                              DEFENDANTS.


                                         *** *** *** ***

        This matter is before the Court on Defendants’ Motion to Transfer [R. 21]. Defendants

 also move to defer their obligation to Answer or otherwise Respond to Plaintiffs’ Complaint

 pending resolution of their Motion to Transfer. [R. 22]. To further consider the motions,

        IT IS ORDERED that the Plaintiffs shall respond to Defendants’ motions [R. 21, 22] no

 later than July 20, 2022.

        Signed July 5, 2022.
